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   From:      David Shaw                          >
   Sent:      Wed, 6Oct 2021 18:02:29 +0000 (UTC)
   To:         Tim Sweeney <                                >
   Cc:        Andrew Grant <                                >; Joe Kreiner <                             >;
              Ryan Dixon <                             >; Daniel Vogel <d                               >
   Subject: Re: xCloud



  Yep, will do.

  On Wed, Oct 6, 2021 at 2:01 PM Tim Sweeney <                                      > wrote:

    Thanks. Shaw, can you dig into intentions with the Fall Guys and Rocket League teams? Would be great to
    understand the Epic-wide situation and try to formulate some sort of new principle on the topic of
    achievements with respect to other platforms, cross platform, and our own intentions.
    -Tim

  On Wed, Oct 6, 2021 at 1:58 PM David Shaw <                            > wrote:

     MS occasionally asks about adding achievements to BR, but their systems are terrible for season-based
     games. We can easily keep saying no to adding more.
     -Shaw

  On Wed, Oct 6, 2021 at 1:54 PM Andrew Grant <                                      > wrote:

         Confirmed. Only StW has achievements & trophies.

  On Wed, Oct 6, 2021 at 1:42 PM Andrew Grant <                                      > wrote:

         Iwill double check, but Idon't think we have ever done achievements/trophies on Xbox & PlayStation for
         BR or Creative. Only StW.

  IIRC, on both platforms once an achievement is added to agame it's required to be always-achievable. That
       would have limited us to some onboarding achievements and then just "grindy" ones that are increasingly
       onerous for new users to get.




  On Wed, Oct 6, 2021 at 1:18 PM Tim Sweeney <                                      > wrote:

           Can we dig into what Fortnite (Battle Royale and other multiplayer, not Save The World) does with
           Achievements on Xbox?
           Vogel and Iare concerned about Xbox achievements psychology (altering play patterns not based on
           having fun but on earning achievements so you can should your friends you have more achievements
           than them) affecting play patterns on other platforms, leading more players into aMicrosoft-taxed
           scenario, etc. One one end of the spectrum, we'd want to opt Fortnite multiplayer out of all Xbox
           achievements entirely.

  -Tim
                                                                                                      Exhibit
  On Tue, Oct 5, 2021 at 9:29 PM Tim Sweeney <                                   > wrote:             0X538
                                                                                                  EXHIBIT 10538

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        That's great news. If it's compatible with other scheduling constraints, let's try to get this deal signed
        with the aim of launching Fortnite on xCloud by end of year.
        -Tim

  On Tue, Oct 5, 2021 at 8:55 PM Andrew Grant <                                      > wrote:

         Great call with Microsoft today. They have everything we need to deliver agreat touch experience on
         xCloud in asustainable way.

  The integration work is relatively light and entirely on our end. Light enough that we could probably ship it
         this year if we can fit it in with S19 on UE5 (and we aren't concerned that it fast-following GFN might
         hurt our Nvidia relationship).

  xCloud Notes

               • They already support touch and have GDK APIs for games that want to handle touch natively
               (vs relying on avirtual on-screen controller)
               • They have APIs for detecting if the game is running in the cloud and the type of device the user
               has.
               •No need to make custom builds we give them our regular XB build with these APIs and they
                                                   -




               do the rest.
               • They are confident that they can handle our update cadence
               • They have good tools for letting developers test streaming locally using aregular XB devkit
               • Downside: At the moment they only support 16:9 so letterbox/pillarbox on different devices.
               They are working on full-screen support

         Fortnite work

               • We'd need to add support for touch input on GDK platforms (MS have done this for UE4 titles
               and can give us code)
               • We need to make sure FN on Xbox includes the necessary assets for touch and recognizes it as
               valid input.
               • We need apass over any Xbox-specific screens to verify they support touch on buttons
               • We'd need to use their APIs to detect streaming and set the same flags that mobile/GFN use to
               disable StW

         The fact that it's basically an Xbox so all the APIs for things like sign-in, localization, and session
         management "just work" make it all alot less work than GFN was.

  A.




  On Fri, Oct 1, 2021 at 4:10 PM David Shaw <                             > wrote:

          This is perfect. I've already got aside thread with MS on the topic and they're super interested in
          making this successful as well. Andrew, I'll get us on acall with relevant folks on the MS side next
          week.
          -Shaw

  On Fri, Oct 1, 2021 at 4:08 PM Andrew Grant <                                      > wrote:

           Shaw/Joe,




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          We can chat next week to go into details but the TL;DR is:

               •We can now enable "touch controls" for Fortnite on any platform (and even hot-swap based
               on whether input is coming from Controller/Touch)
  •For GeForce Now, when auser is on amobile client NVidia turns off the virtual gamepad and sends us the
               touch events through an API and we simply use those.
  •We would like Microsoft to do the same:)

           There may be other things we can do to streamline the experience as well.

  A.



  On Thu, Sep 30, 2021 at 5:03 PM Tim Sweeney <                                  > wrote:

            Guys,
            Can the three of you sync up on the xCloud timeline and tech integration plans? One MASSIVE
            opportunity is to have xCloud support our Fortnite mobile touch controls when the user is running
            on an iOS or Android device (as we're doing on GeForce NOW), so you don't need to buy an
            external game controller to play it. Ithink this will expand the audience like 5x compared to
            expecting people to buy aperipheral from the store.

  -Tim




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